              Case 2:18-cv-00530-MSD-RJK Document 656-3 Filed 05/23/23 Page 1 of 3 PageID# 15808




                                                     AMENDED EXHIBIT B

                                    COSTS OF COURT REPORTERS FOR DEPOSITIONS and
                                                HEARING TRANSCRIPTS

Description                             Date           Invoice No.       Original   Video Cost   Total Cost
                                                                         Copy
Motion for summary judgment             12/01/2022     20220044          839.30                  839.30
hearing transcript
Daubert hearing transcript              12/02/2022     202300434         677.60                  677.60
Motion in Limine and Motion to          01/10/2023     20230010          248.05                  248.05
Exclude expert hearing transcript
Pre-trial Status conference             01/18/2023     20230005          272.62                  272.62
TOTAL                                                                                            $2,037.57

Description                             Date          Invoice No.        Original   Video Cost Total Cost
                                                                         Copy
Deposition of Cannon Moss               02/14/2020    200262             1,004.50                1,004.50
Deposition of Randall Hunt              02/18/2020    200267             482.80                  482.80
Deposition of Kenneth Joyner            02/19/2020    200271             669.00                  669.00
Deposition of Michael McClellan         02/20/2020    200302             800.50                  800.50
Deposition of Jerry Hall                02/21/2020    CS4225682          451.05                  451.05
Deposition of Thomas Hurlbut            02/21/2020    CS4225682          466.20                  466.20
Deposition of Michael Wheeler           02/24/2020    200349             523.50                  523.50
Deposition of Chris Luebbers            02/25/2020    200351             953.00                  953.00
Deposition of David Stinson             02/26/2020    200363             660.50                  660.50
Deposition of Steven Armbrust           03/11/2020    4259531, 4264379   1,592.85   2,590.00     4,182.85
Deposition of John Booth                03/12/2020    4262197, 4259420   1,496.35   1,834.00     3,330.35
Deposition of James Allan               03/13/2020    4260073, 4259896   1,201.10   1,591.00     2,792.10
Deposition of Philip Merilli            03/02/2020    CS4256997          491.20                  491.20
Deposition of Tony Ingram               11/18/2020    4633919, 4696771   996.10     1,706.00     2,702.10
Deposition of Michael Burns             12/03/2020    4724608, 4706560   842.10     1,444.00     2,286.10
Deposition of Chris Wagel               12/7/2020     4712482            482.95                  482.95
           Case 2:18-cv-00530-MSD-RJK Document 656-3 Filed 05/23/23 Page 2 of 3 PageID# 15809




Deposition of John Strongosky     12/8/2020    4718934, 4732332   1,233.60   2,317.00   3,550.60
Deposition of Ryan Houfek         12/9/2020    4719230, 4735264   688.45     1,324.00   2,012.45
Deposition of Maryclare Kenney    12/11/2020   4759104, 4762129   795.40     1,655.00   2,450.40
Deposition of Anthony DiDeo       12/14/2020   4756615, 4758116   1,152.30   1,926.00   3,078.30
Deposition of Jermaine Swafford   12/15/2020   4738098, 4751038   799.00     2,225.00   3,024.00
Deposition of Donna Coleman       03/04/2020   200387             860.60                860.60
Deposition of Carl Warren         01/05/2021   4759797, 4774638   1,123.55   2,222.00   3,345.55
Deposition of Frederik Eliasson   01/08/2021   4778898, 4780076   1,109.90   1,796.00   2,905.90
Deposition of Robert Girardot     01/12/2021   4789553, 4788872   1,383.40   2,458.00   3,841.40
Deposition of Robert Girardot     01/13/2021   4787887, 4790461   1,234.80   2,218.00   3,452.80
Deposition of Quintin Kendall     01/14/2021   4803499, 4805732   921.10     1,655.00   2,576.10
Deposition of Dean Piacente       01/15/2021   4791778, 4793863   897.05     1,655.00   2,552.05
Deposition of Catherine Vick      01/19/2021   4790557, 4799762   1,168.90   1,976.00   3,144.90
Deposition of Anthony MacDonald   01/20/2021   4786881, 4806896   1,152.30   1,938.50   3,090.80
Deposition of Thomas Capozzi      01/22/2021   4795464, 4811194   570.60     2,086.00   2,656.60
Deposition of Catherine Vick      02/05/2021   4833938, 4866050   215.60     646.00     861.60
Deposition of Jay Strongosky      03/17/2021   4896965, 4918465   463.85     423.00     886.85
Deposition of Robert Girardot     03/17/2021   4896965, 4918465   844.75     325.00     1,169.75
Deposition of Howard Marvel       03/22/2021   4968310, 4915816   1,161.80   2,174.50   3,336.30
Deposition of Steven Armbrust     03/25/2021   4944621, 4964583   403.90     423.00     826.90
Deposition of Michael Burns       03/25/2021   4944621, 4964583   324.40     282.00     606.40
Deposition of Maryclare Kenney    03/26/2021   4946236, 4964755   388.80     1,349.25   1,738.05
Deposition of Matthew Wright,     03/30/2021   2044453, 2044454   1,212.05   750.00     1,962.05
Ph.D.
Deposition of Thomas Crowley      03/31/2021   2044417, 2102875   836.80     750.00     1,586.80
Deposition of Chris Luebbers      01/10/2023   2102825, 221229    761.60     750.00     1,511.60
TOTAL                                                                                   79,307.45

GRAND TOTAL                                                                             81,345.02
Case 2:18-cv-00530-MSD-RJK Document 656-3 Filed 05/23/23 Page 3 of 3 PageID# 15810



                                                                                                                                        ZAHN COURT REPORTING
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                                                                               INVOICE
Troutman Pepper, LLP                                                                                                                Invoice Number:                     200351
ATTN: John C. Lynch, Esquire                                                                                                            Invoice Date:                02/29/2020
222 Central Park Avenue, Suite 2000                                                                                                     Job Number:                     101573
Virginia Beach, VA 23462
                                                                                                                                           Client Phone: 757-687-7500

In Re:     CSX Transportation, INC v Norfolk Southern Railway
           Witness(s): Chris Leubbers
           Attendance Date: 02/25/2020, 9:30 a.m.
           Reporter: Kerry E. Zahn

     Qty Description                                                                                                                                                       Amount
         Christopher Luebbers
     336 Copy of Transcript                                                                                                                                                840.00
     336 Additional Per Page Rate - 3-day expedite                                                                                                                        1008.00
     226 Exhibits Scanned (B&W)                                                                                                                                            113.00

                                                                                                                                             Invoice Total:               1961.00
                                                                                                                                                Payments:                 1961.00

                                                                                                                                    Total Amount Due:                           0.00
Payment Information
08/31/2020 - Check: 703940




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